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                     EXHIBIT K
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                                     COHEN                                 BUSINESS
                                                                           LAW
                                                                           GROUP

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                                              September 6,2018

    James A. Gregorio, Esq.                                                            Via Email and U.S. Mail
    Gregorio PLLC                                                                     james@gregoriopllc.com
    301 S. Elm St., Ste 507
    Greensboro, NC 27401


                         FRE 408 & California Evidence Code Section 1152 & 1154

                       Re: Dawn Dorland Final Settlement Demand and Reservation of Rights
                       Our Client:         Dawn Dorland
                       Our File No.:       7277.001
                       Copyrighted Work: “Dorland Kidney chain final recipient letter July 2,2015”
                                           by Dawn Dorland (The “Work”)
                       Infringing Content: Portions of “The Kindest” by Sonya Larson

   Dear Mr. Gregorio:

   As you are aware, this office is counsel for Dawn Dorland with respect to the issues addressed
   herein as well as in our July 20,2018 correspondence to you.

   It has come to our attention that your client continues to engage in conduct violative of the rights
   of our client. While the Boston Book Festival has apparently agreed with our position as to your
   client’s infringement, we are aware of further and additional conduct by your client that we believe
   has infringed and continues to infringe upon the rights of our client. The purpose of this letter is to
   demand that your client CEASE AND DESIST of and from all further infringement of the rights
   of our client, copyright and otherwise.

   Specifically, our client has discovered claims which include but are not limited to claims under 17
   U.S.C. §§ 106(1), 106(2), 106(3), and 106(5), respectively, for:

          •    reproducing the Copyrighted Work (“Work”) in “The Kindest”;
          •    preparing a derivative work in “The Kindest” based upon the Work;
          •    distributing copies of the Work to AmericanShortFiction.org, Audible.com (in the United
               States, United Kingdom, and Australia), BrillianceAudio.com, and the Boston Book
               Festival; and

                                          TRANSACTIONS AND LITIGATION
        | BUSINESS | CORPORATE | INTERNET & TECHNOLOGY | INTELLECTUAL PROPERTY | DATA BREACH | NEW MEDIA |
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    • publicly displaying the Work on the aforementioned websites.

While the Boston Book Festival has decided not to publish “The Kindest”, by no means does this
address the infringement by your client that has occurred up to this point in time, nor the damages
inflicted as a result of her actions, including attorney’s fees and costs incurred in the enforcement
and protection of our client’s rights.

We have attempted to resolve this matter with your client through your office by requesting that
your client agree, at least informally, to cease and desist of and from further violations, and thus
far, your client has refused to acknowledge the rights of our client or admit what everyone else
seems to agree upon, that the actions of your client have already infringed the rights of our client.
There has been no explanation for the refusal to acknowledge these rights or the wrongdoing of
your client except ambiguous, wholly inapplicable assertions of “fair use”; unfortunately, this
leaves us in a difficult position.

At this time, we require that your client acknowledge the rights of our client, in writing, and we
require that your client formally agree to cease and desist of and from further violations.
Additionally, we need to resolve the matter of significant attorney’s fees and costs incurred as the
direct result of your client’s actions. The failure to take these matters seriously and to resolve this
matter informally at this time may result in the formal assertion of such rights against your client.

Specifically, to the extent that your client is unwilling to voluntarily agree to cease and desist from
further violation of our client’s rights, we intend to take action to require her compliance. Should
that be necessary, we will be asserting a full litany of claims against your client and seek all
available damages, including attorney’s fees and costs. Furthermore, given the nature of the
infringement, we intend to address these claims in the Central District of California located in Los
Angeles, California.

We have attempted to come to a mutually agreeable solution with you about these past claims, and
despite not yet obtaining a resolution of these claims, we remain willing to discuss settling these
claims once and for all. However, given the time and resources we have expended to-date on this
matter, we now shall be seeking a full recovery of the damages to which our client maybe entitled,
in addition to satisfaction of claims that can be pursued in a court of law.

Such an endeavor will most certainly cause both of our clients to devote substantial resources
including time and energy to these claims. There is virtually no likelihood that your client will
prevail, as your client’s infringement is undeniable. In order to avoid this path, our client
demands the following:

    1) Your client will execute a stipulated judgment in the amount of $180,000 to be held and
       not filed unless and until your client violates the further terms of a written settlement
       agreement.
    2) That your client agrees to cease and desist of and from any further violation of our client’s
       copyrights with respect to the Work, or anything derivative thereof in “The Kindest”, or
       any other publication.
    3) Your client agrees to reimburse actual legal expenses incurred of $15,000.00
       commensurate with execution of the settlement agreement.
    4) Other terms typical of an agreement of this type.
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Should your client continue to stonewall further discussions along these lines, she will not be
pleased with the result. Should we not hear from you within ten (10) days of the date of this letter,
this demand shall automatically expire without further notice and shall not be renewed.

The foregoing is not intended to be a full litany of all rights that our client may have. Nothing
contained herein, or not expressly included, shall be taken as a waiver of any other rights that our
client may have, and all such rights are expressly reserved. Our client is truly hopeful that your
client takes the reasonable path here, but please understand that the present circumstances will
simply not be tolerated any further.

                                         Very truly yours,

                               COHEN BUSINESS LAW GROUP
                                 A Professional Corporation


                                      MICHAEL S. HANNA

MSH/nk

L-Gregorio 20180808.5
